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                            IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

  UNITED STATES OF AMERICA,

                          Plaintiff,

  v.                                                   Criminal Action No. 2:00CR7-14
                                                       (JUDGE STAMP)

  SHAUN KEVIN HARRIS,

                          Defendant.

         REPORT AND RECOMMENDATION THAT MOTIONS TO VACATE OR
                     DISMISS FINE PAYMENT BE DENIED


                                        I. Procedural History

         Defendant, Shaun Kevin Harris, was convicted by a jury May 11, 2001, on Counts 1, 24, 28,

  30, and 31 of the indictment. On January 30, 2002, defendant was sentenced to 360 months

  imprisonment on all counts to be served concurrently. Defendant was also sentenced to an

  assessment of $500 and a fine of $5,000 to be paid while Defendant is incarcerated.          If not

  completed while incarcerated, the remainder of the fine was to be paid by the end of the term of

  supervised release.

         On January 30, 2006 and again on September 25, 2006, defendant filed motions to vacate

  or dismiss fine payment. The motions were referred to me July 18, 2007. The Government filed

  its response August 15, 2007.

                                            II. Discussion

         The January 30, 2006 motion alleges that since the sentencing court did not set a specific

  payment plan or schedule the Bureau of Prisons is prohibited from setting a payment plan or

  schedule. Defendant refers to United States v. Miller, 77 F.3d 71, 78 (4th Cir. 1996) in support of
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  this contention. Specifically, defendant contends he cannot be compelled to participate in the Inmate

  Financial Responsibility Program (IFRP) and requests the court order the Bureau of Prisons (BOP)

  to remove him from the IFRP Program and stop taking money from his inmate trust fund account.

         The September 25, 2006 motion makes the same contentions.

         The Government responds that when the Court orders immediate payment of a criminal fine,

  the Bureau of Prisons has discretion to place an inmate in the IFRP.

         The IFRP was enacted to assist inmates “to meet his or her legitimate financial obligations”1

  and applies to “all inmates in federal facilities.” 28 C.F.R. § 545.10. “The IFRP program serves

  valid penological interests and is fully consistent with the Bureau of Prisons’ authorization, under

  the direction of the Attorney General, to provide for rehabilitation and reformation.” Johnpoll v.

  Thornburg, 898 F. 2d 849, 851 (2d Cir. 1990). Further, while the petitioner’s failure to comply with

  the IFRP can have negative consequences on the inmate see 28 C.F.R. § 545.11(d), compelled

  participation in the program is neither punitive in nature nor violates due process because it is

  reasonably related to the legitimate government objective of rehabilitation. Johnpoll, 898 F. 3d at

  851. The IFRP has been “uniformly upheld against constitutional attack.” McGhee v. Clark, 166

  F. 3d 884, 886 (7th Cir. 1999).

         The Fourth Circuit Court of Appeals has held that “a district court may not delegate its

  authority to set the amount and timing of fine payments to the Bureau of Prisons or the probation

  officer.” United States v. Miller, 77 F.3d 71, 78 (4th Cir. 1996). In Miller, the district court had

  ordered Miller to “make payments toward the $3,000 fine and the fifty-dollar restitution at such

  times and in such amounts as the Bureau of Prisons and/or the Probation Office may direct.” The


         1
             Fines are inmate financial obligations. 28 C.F.R. § 545.11(a)(3).

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  Fourth Circuit determined that the district court had improperly delegated its authority to the BOP

  and vacated the portion of Miller’s sentence regarding the fine and restitution.

         Defendant asserts that the sentencing court has a statutory duty to set the amount and timing

  of his assessment and fine. See 18 U.S.C. § 3572(d)(1) (“[a] person sentenced to pay a fine or other

  monetary penalty, including restitution, shall make such payment immediately, unless, in the

  interests of justice, the court provides for payment on a date certain in installments”). The petitioner

  further argues that the sentencing court cannot delegate authority to the BOP and failed to maintain

  authority over the amount and timing of his fine and assessment.

         Defendant’s Judgment and Commitment order is clear that the sentencing court ordered that

  the Defendant pay a $500 assessment and a $5,000 fine. Moreover the sentencing court clearly

  ordered payment of assessment and fine begin immediately and be paid during the Defendant’s term

  of imprisonment. Therefore, the sentencing court set the amount and timing of the Defendant’s

  criminal assessment and fine and did not improperly delegate that responsibility to the BOP. The

  sentencing court stated that all criminal monetary penalties be paid to the clerk of court except

  payments through the IFRP. The Court did not require such participation, nor fail to maintain

  ultimate authority of such fine. The Court merely acknowledged that the fine could be paid in such

  a manner. Accordingly, the motions are without merit.

         In an unpublished decision, the Fourth Circuit addressed the specific issue finding

  “participation in the Inmate Financial Responsibility Program (‘IFRP’) does not establish a violation

  of Miller. Coleman v. Brooks, 133 Fed. Appx. 51, 53 (4th Cir. 2005). Coleman then went on to

  discuss the holding of the Eighth Circuit “We therefore hold that it is within the BOP’s discretion




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  to place appellants in the IFRP Plan” (when the sentencing court has ordered immediate payment).

  Matheny v. Morrison, 307 F.3d 709, 712 (8th Cir. 2002).

         The Clerk of the Court is directed to send a copy of this Report and Recommendation to the

  pro se Defendant by certified mail, return receipt requested, at his last known address as shown on

  the docket sheet. The Clerk of the Court is further directed to provide a copy of this Report and

  Recommendation to all counsel of record, as applicable, as provided in the Administrative

  Procedures for Electronic Case Filing in the United States District Court for the Northern District

  of West Virginia.

         DATED: September 5, 2007



                                                       /s/ James E. Seibert
                                                       JAMES E. SEIBERT
                                                       UNITED STATES MAGISTRATE JUDGE




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